Case 8:19-cv-01998-JVS-JDE Document 37-8 Filed 10/21/19 Page1of9 Page ID #:3135

IRVINE OFFICE AND STORAGE
8 Whatney, Suite 100
Irvine, CA 92618
(949) 334-8600 Phone — (949) 334-8699 Fax

SERVICE LICENSE AGREEMENT

 

 

 

 

 

 

 

 

 

 

Date: July 17,2018
Licensee Information
Name: Kaine Wen
Company Name: SL Account Mgmt
Addreas: 6 Whatney, Suite 100, Irvine, CA 92618
Phone: 424.333.8200
Fax:
Email Address: UAE best
License to Use: 6 Whatney, Workstation 6, irvine, CA 92618
Term: 6 Months-As specified in Exhibit 1
Start Date! Termination Date: Start Date: September 1, 2018 Termination Date: February 28, 2019 ‘Upon thirty (30) days written notice,

 

 

 

1. LICENSE AGREEMENT, THIS LICENSE AGREEMENT (hereinafter “Agreement’) IS NOT A LEASE NOR DOES IT CREATE ANY POSSESSORY INTEREST N REAL PROPERTY.
IT IS A CONTRACTUAL ARRANGEMENT THAT CREATES A REVOCABLE LICENSE FOR THE USE OF OFFICE SPACE. Irvine Office and Storage, LLC (hereinafter Irvine Office and
Storage) retains lagal possession and control of the Center and the office(s) and/ or cubicle(s) assigned to Licensee. Any square footage listed on the first page of this Agreement for
Licansae's offica(s) and/ or cublela(s) are approximations and may include a portion of the common area of tha Center.

2. SERVICES LICENSED. Pursuant to this Agreement, Licansee has a license to use the offtca(s) assigned to |tas wall as shared use of common areas in the Center including conference
rooms, lobby and kitchen areas. Irvine Office and Storage shall provide office cleaning, maintenance services, elecbic, lighting, heating and alr conditioning to the Center during normal
business hours (Monday through Friday 8 AM to 6 PM and additionally on Saturday from 11 AM to 3 PM) as determined by Irvine Office and Storage. In addition to an office(s), Licensee
wil be provided with certain eervices on an as requested basis. The fae schedule for these services Is available upon request. The fee schedule willbe updated from time to time. Licansee
wil be obligated to pay for the recurring services listed on the first day of the next calendar month, Licansee agrees to pay all charges authorized by Licansee and its employees. Inine
Offica and Storage and vendors designated by irvine Office and Storage are the only service providers authorized to provideservicasin the Center. Licansae agreas that nelther Licansae
nor its employees will solicit other cllents af the Center to provide any service provided by nine Office and Storage or fs designated vandors, or otherwise.

3, FEES. Licensee hereby agrees to pay the Monthly Licanse Fee and all other monthly recurring fees on tha first business day of each month. Additonal servicas, word processing, fax
service, postage including but not limited to phone equipment rental, local and long distance phone charges and other business support functions will be billed on an as used basis. if
Licensee disputes any portion of the charges on tha bill, Licensee must still pay the full amount due on the firet business day of the month and only after paying the full amount may Licensee
dispute any amount thereunder. Changes must be disputed in writing within 30 days or Licensee waives the right to dispute such fees. If Licensee's payment is not received by the fifth
day of the month, Licensee may be charged a service charge of 10% of the late payment ar $50, whichaver Is greater. Licensee may also be charged Interest at the highest rate permitted
by applicable law. Licensee will be charged $25 for each retumed check.

Upon execution of this Agreement, Licensee Is required to pay the first month's Basic Monthly Fee and all Set Up Fees. No acceptance of alesser amount than the amounts payable by
Licensee under this Agreement shall be deemed a waiver of Irvine Office And Storage right lo receive the full amount dua, nor shall any endorsement or statement on any check or payment
or any letter accompanying such check or payment be deemed an accord and sallsfaction, and Irvine Office And Storage may accap! such check or payment without prajudice to Irvine
Office And Storage right to recover the full amount due.

4, SECURITY DEPOSIT, Licenses shall deposit with Irvina Office and Storage prior to commencing use of the offices), the Security Deposit set forth on page 1 of this Agreement. If at
any time during the tarm of this Agreement (or any renewal orexterision tarm), Licansae's Monthly Licansé Fae and/or othar monthly racurring fees are Increased, then the amountof the
Security Deposit will ba increased by sald amount, which increase shall be payable to Irvine Office And Storage upon request. The Security Deposit wil not be kept in a separate account
from other funds of Irvine Office and Storage and no Interest will be paid to Licansee. The Security Deposit may ba applied to outstanding fees or charges at any time, at Irvina Office and
Storage discretion. If Irvine Office And Storage applies any amount of the Security Deposit to Licensee's account, Licensee shall immediately upon written demand replenish the amount
applied to Licensee's account. At the end of the term of this Agreement, if Licensee has paid all amounts due, Irvine Office and Storage shall refund the Security Deposit mus eny
necessary repairs, including but not limited to painting, carpet cleaning and/or replacement, wall patching, replacing missing or broken blinds, outlets or keys within 60 days.

5. RULES AND REGULATIONS. Licensee agrees to comply with all rules and regulations (hereinafler "Rules’) of the Building, a copy of which are attached to this Agreement. Irvine
Office and Storage has the right to reasonably amand the Rules and supplement the same with other reasonable Rules, and all such amendments or new Rules shail be binding upon
Licensee after 15 days written notice. Nothing herein shall be construed to give Licensee or any other person or entity any daim, demand or cause of action against Irvine Office and
Storage arising out of the violation of such Rules by any other licansee, occupant or visitor of the Center, or out of the enforcement or walver of tha Rules by Irvine Office and Storage in
any particular Instance. To tha extent there is a conflict between the Rules and this Agreement, this Agreement will control.

Inttiais_ Kod _

Evers Decl. - Attachment C Pl. Ex. 63
p. 1758
Case 8:19-cv-01998-JVS-JDE Document 37-8 Filed 10/21/19 Page 2of9 Page ID #:3136

6. DAMAGES AND INSURANCE. Licensee lsrespor.. or any damage Licensee, Its agents, employees or assignees m: "se to the Bulkiing or 3) beyond nomal wear and
tear. Licensee is responsible for any damage caused to tnw bullding or its parking facilities or common areas, frvine Office ano ~—_. age has the right to Inspect the condition of the offica(s)
from time to time and meke any necessary repairs. Licensee is required to maintain general commercial Kablity insurance atall ines relevant herein. Such policy shall have minimum
liablity limits of $1,000,000 per Incident and/or $2,000,000 aggragata. Licensee Lt é age al insured under any and all such llabifity
policies. Prior to commencing use of the offica(s), Licensee shall provide ivine Office ond storage proof of guch ineuranoe and shall provide written evidence of such continued coverage
within § days of racalving such written request from Irvine Office and Storage.

7, DEFAULT. Any of the following shall constitute a default under this Agreement if: () the failure 9 pay any amountpayable hereunder on the designated payment date; (Ii) the fallure to
abide by, or to cause your employees, agents or Inviteas to abide by, the Rules of the Buiding (til) the failure to otherwise comply with the tarms of this Agreement. Any default under
section (i) above shall terminate this Agreement if such payment is not made within 3 days of Licansee receiving writien nofice of such defautt. Licensee shall be eniitiad fo 10 days upon
receiving written notica of any default under sections (II) or (ill) above unless that default cannot be corrected, In which event no notice period will apply. Irvine Office and Storage hes the
right to terminate this Agreement early: (1) If Lloansae fais to correct a default within the applicable cure period or if tha default cannot be corrected; (2) If Licensee is found to be In default
under this Agreement three or more times in any calendar year, In which case no cure period shall apply; or (3) If Licensee uses the Center for any illegal operations or purposes. I this
Agreement Is terminated due to Licensee's default, Licansee will remain lable for the Monthly Licanse Fee which would have been payable for the remainder of the tarm had this Agreement
not been terminated. Licansee agrees that Irvine Office and Storage may caase to provide any and all services, Including without limitation accass to office{s), telephone and intemat
sarvices, without notice or the need to initiate lagal process should licensee be in dafault under this Agreement.

8. ATTORNEYS’ FEES AND COSTS. Shoutd either party institute lagal action to enforce any provision of this Agreement, the prevailing party shall be entitiad to recovery its reasonable
attlomeys’ fees and costs associated with such litigation from the losing party.

9. LIMITATION OF LIABILITY. Licensee acknowledges that due to the Imperfect nature of verbal, written end electronic communications, neither Irvine Office and Storage nor any of their
respective officers, directors, employees, shareholders, mambers, partners, agents or representatives shall be responsible for damages, direct or consequential, that may result from the
failure of Irvine Office and Storage to fumish any service, including but not limited to the service of conveying messages, communications (including but not limited to telephone and intemet
sarvice) or any other utility or services. Licensee agrees that Irvine Offica and Storage shall not be responsible for any damages, direct or consequential, resulting from any error or omission
In providing, any faiure to provide or any delay in providing, any computer or information technology services. Licensee's sole remedy and Irvine Office and Storege sole obligation for any
failure to render any service, any error or omission, or any delay or Interruption of any service, is limited to an adjustment to your bill in an amount equal to the charge for such service for
the period during which the fallure, delay or interruption continues. WITH THE SOLE EXCEPTION OF THE REMEDY DESCRIBED ABOVE, LICENSEE EXPRESSLY AND
SPECIFICALLY AGREE TO WAIVE, AND AGREE NOT TO MAKE, ANY CLAIM FOR DAMAGES, DIRECT OR CONSEQUENTIAL, INCLUDING, WITHOUT LIMITATION, LOST
BUSINESS OR PROFITS (WHETHER IN AN ACTION IN CONTRACT, WARRANTY, TORT, INCLUDING, WITHOUT LIMITATION, NEGLIGENCE, OR STRICT LIABILITY, EVEN F
IRVINE OFFICE AND STORAGE HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH LIABILITIES}, ARISING FROMANY FAILURE TO FURNISH ANY SERVICE, ANY ERROR
OR OMISSION WITH RESPECT THERETO, OR ANY DELAY OR INTERRUPTION OF SERVICES. WITH REGARD TO ANY SERVICES PROVIDED BY IRVINE OFFICE AND
STORAGE, IRVINE OFFICE AND STORAGE DISCLAIMS ANY WARRANTY OF MERCHANTABLITY OR FITNESS FOR A PARTICULAR PURPOSE. ADDITIONALLY, IRVINE
OFFICE AND STORAGE MAKES NO REPRESENTATIONS OR WARRANTIES REGARDING THE AVAILABILITY OF PARKING AT THE CENTER.

 

Initial
10. RENEWAL) NOTICE REQUIREMENT. If Licensee does not want to renew this Agreement, Licensee must provide Irvine Office and Storage written notice of Licensee's desire to
farminate the Agreament Such termination notice must be in writing and given fo Irvine Offica and Storage no later than 30 days prior to the termination of this Agreement. Notices will
always be In affect from the first to the end of the following month, even if notice Is given on any other date. Notwithstanding the foregoing, Irvine Office and Storage may terminate this
Agreement after the expiration of the Initial term for any reason upon 30 days written notice to Licansee. Should the number of offices and/ or cubicle exceed 3, then a 60 days written
notica Is required.

11. TERMINATION OF AGREEMENT. Landlord at any time during the term of this agreement shall have the right to give e thirty (30) day written notice to vacate the premises. Upon the
termination of this Agreement for any reason, Licansee's licanse to enter the Buliding and/or the offica(s) Is Immediately revoked. Licansee hereby agrees fo ramove its personal property
and leave the office{s) as of the data of termination. {rvine Offica and Storage is not responsible for any of Licensee's property left In the office(s) aftar termination, Any property remaining
In the offica(s) following the terminetion of this Agreement shall be conclusively daemed to have been abandoned. Irvine Office and Storage, al irvine Office and Storage sole option, may
sell such parsonal property or may remove and store same. If Irvine Office and Storage elects to remove and store such property, Licensee shall pay to Irvine Office and Storage upon
demand all costs of such removal and storage. The delivery of keys to the offica(s) to Irvine Office and Storage or any agent or employee of Irvine Office and Storage shall not constitute
a surrender of the offica(s) tleensed by Licansee or effect a termination of this Agreement, whather or not the keys are thereafter retained by Inine Office and Storage.

12. RELOCATION, Irvine Offica and Storage raserves the right to relocate Licensee to another office in the Bullding for any reason. If Irvine Office and Storage exercises such right it will
only be to an office of equal or larger square footage and shall be at Irvine Offica and Storage expense.

13, RETAINED EMPLOYMENT/ SOLICITING CLIENTS. Licensee acknowledges thal if Licansee hires anyone employed by Irvine Office and Storage, a five thousand dollar ($5,000.00)
fee will be peid to Irvine Office and Storage's upon tenninatlon of such employee(s). Licensee agrees not to solicit or cause any other clients of the Center to move.

14. NOTICES. All notices must ba in writing and may be givan by registered or certified mall, postage prepaid, ovemight delivery service or hand delivered with proof of delivery. Notices
to Irvine Office and Storage, to be effective, must be sent to Irvine Office and Storage address of the Center listed on the first page of this Agreement. Notices to Lenses may be sent to
Licansee et the office address listed on the first page of this Agreement. Thirty day notices wil not be prorated, they will apply to the 1* of the month to the last day of the month.

45. MEDIATION; GOVERNING LAW. In the event of a dispute under this Agreement, Licansae agrees to submit the dispute to non-binding mediation with the parties to split the fae for
mediation. Such mediation shalloccurwithin 30 days of receipt of written demand for such mediation. Only after submitting the mattar to good-faith mediation shall alther party ba antitied
fo resort to arbitration. Nothing In this paragraph will prohibit Irvine Office and Storage from seeking equitable relief, including without limitation, any action for removal of Licensee from the
Center aller the license has been terminated or revoked. This Agreement ls governed by the laws of the State of Califomia.

16. MISCELLANEOUS, Licensee may not assign this Agreement without Irvine Office and Storage prior written consent, which consent will not be unreasonably withheld. No assignment
shall release Licensee from Licensee's llabiity under thls Agreement. This Agreement Is the entire agreement between Licensee and Irvina Office and Storage. It supersedes all prior
agreements. This Agreament may not be modified, exteptin writing signed by both parties. If more than one party signs this Agreementas Licansee, the obligations of such parties shall
be joint and saveral. The terms of this Agreement are confidential. Licensee may not disclose the terms of this Agraement to a third party without Irvine Offica and Storage consent, unless
in connection with legal proceedings or unless required to do so by law or an offidal authority. Disclosure of the terms of this Agraement to another Licansee or a third party without our

written approval may result In the immediate termination of this Agreement.

Licensee acknowledges having received, reviewed and understocd the above agreement and altached fee schedule and nées and regulation, Licensee agrees to comply with those terms
and obligations as set out in them.

IRVINE OFFICE AND STORAGE, LLC LICENSEE

a Callfomla limited liability com;
By. bao —
Date: 7K, 11%

“ ( 7E | [ Initials Kus

Evers Decl. - Attachment C Pl. Ex. 63
p. 1759

  

 

 

 
Case 8:19-cv-01998-JVS- JDE - Document 37-8 Filed 10/21/19 Page 3of9 Page ID #:3137

2.

8

10.
11.

12.

13.

14,

15.
18.
17.

16.

19.

24.

25.

27.

28,

31.

RULES AND REGULATIONS

Noise levels shall ba conducive to a professional environment and shall not interfere with or annoy other Licensees. Licensee and their quests shall conduct themselves In a
businesslike manner, and proper attire wil be wom et all times, Licensee shall not use, keep or permit to be used or kept any foul or noxious gas or substance In Licensee's
office(s) or other portions of the Center, or permil Licansae's office(s) or other portions of the Center to be occupied or used In a manner tending to create a nuisance or to
disturb any other occupant of any part of the Center or the Building or interfare In any way with other occupants or those having business therein.

Canvassing, soliciting end paddling in the Canter or Bullding are prohibited. Licensee shall not provide or offer any services to Irvine Office and Storage’s customers, If such
services are available from Irvine Office and Storage.

No advertisement, identifying signs, personal items or artwork or other notices shall be Inscribed, painted orafilxad on any part of the corridors, doors, public areas or cubicles.
Additionally, Licensee shall not erect or install or otherwise utilize signs, light symbols, canopies, awnings, window coverings or other advertising or decorative matter on the
windows, walls, and exterior doors, or areas otherwise visible from the exterior of the Center or Licensee's offica(s).

Without Irvine Office and Storage’s prior written permission, Licensee Is not permitted to place "mass market’, direct mall or advertising (|e. newspaper, classified
advertisements, billboards) using Irvine Office and Storage’s assigned phone number or fake any such action that would generate an excessive amount of incoming calls,
Neither Licensee nor Licensee's employess, agents, representatives or Invitees shall participate in any type of harassment or other disruptive behavior, whether verbal or
physical, in the Center or Building. Irvine Office and Storage and the Bulking Landlord reserves the right to exclude or expel from the Center and the Bullding any parson who,
In the Judgment of Irvine Offica and Storage or the Bulking Landlord Is under the Influence of Iquor or drugs, or who shall in any manner do any act In violation of any of the
tules and regulations of the Bullding.

Licensee shall not use or petmit to be used In Licensee's office(s) or elsewhere In the Center anything that wil increasa the rate of Insurance on the Building or any part thereof,
nor permit anything that may be dangerous to life or limb, (Example: Skateboarding)

Licensee and Its employees and Invileas shall obey all traffic and parking regulallons as posted throughout the Bullding by the Bullding Landlord. irvine Office and Storage
does not authorize any ovemight parking, no commercial truck parking, no trailer parking, non-operating vehicles, no handicap parking without valid handicap placard, no non-
passenger vehicle parking, of over-gized vehicle parking taking up more than one parking spot without an exacuted Parking & Service Agraementon file. Licensee is responsible
for Informing Its employees, visitors, and Licensees of parking regulations, Nelther Irvine Office and Storage nor the Bullding Landlord shall be held responsible for towing a
Visitor, Licensee or employee who does not comply or who Is unaware of these regulations. No parking Is alowed adjacent to Ste. 200 (North of the fire hydrant).

Licansee shall not conduct any activity within the Canter or Building, which in the sole judgment of Irvine Office and Storage or the Bullding Landtord will create excessive traffic
of Is Inappropriate to the executive office suite environment.

Licensee shall not use cooking equipment at the Center other than the microwave oven In the Center's kitchen,

Licensee shell not use the Center for manufacturing or storage of merchandise, except as such storage may be incidental to general office purposes.

Licensee shall not use or sell liquor, narcotics or tobacco In any form In tha Canter or Building.

Before leaving the office(s) unattended for an extended period of time, Licensee shall close and securely lock alldoors and shut off all lights and other elactrical apparatus. Any
damage resulting from failure fo do so shall be paid by Licansaa.

Licensee shafl not modify existing locks or install additional locks or bolts of any kind on any of the doora orwindowe of the Center.

Licansee shall not use or store or bring Into tha Center or Building oll, burning fluids (or candles), gasoline, kerosene, explosives or any other inflammable, combustible or
hazardous materials,

Licensee shall not remove furniture, fixtures or decorative material from offices or common areas without the written consent of Inine Offica and Storage.

Licansee shall usa chair mats In the offica(s) and any damage from failure to use the same shall be the responsibility of Ihe Licensee,

Licansee shall not bring any animals (excapt Sesing Eye dogs) Into the Center or Building, nor shail any bicycles or vehicles be brought in or kept In or about the Center or the
Building.

Licensee shall deposit all garbage in the receptades Irvine Offica and Storage and the Bullding Landlord provide for garbage and will not leave or accumulate any boxes,
packaging material, or other trash of any kind on the premises or common areas, Licensee shall not throw anything out of doors, windows, or skylight or down the passageways
of the Building.

No furniture, packages, supplies, equioment or merchandise will ba received In the Bulking or cared up or down in the elevator except betwean such hours and In such
elevators as shall be designated by the Bulking Landlord. Neither Irvine Office and Storage nor the Building Landlord shall be responsible for joss or damage to any of the
items above referred to, and Licensee will be responsible for the cost of repairing any damage done to the Center or the Building by moving or maintaining any of such Items,
Irvine Office and Storage shall not be responsible for any loss, damage or theft of any property belonging to Licansee or any employee, agent or invitee of Licansae.

Irvine Offica and Storage end the Buliding Landlord shafi have the right to limit the weight, size and to designate the locations of all safes, file rooms, libraries and other heavy
property In Licensee's offica(s). Maximum uniform floor loading alowed Is 85 pounds per square foot.

The tole! rooms, urinals, wash bowls and other apparatus shall not be used for any purpose other than that for which they were constructed, and no forelgn substance of any
kind whatsoever shail be thrown therein. The expense of any breakage, stoppage, or damage resulting from the violation of this rule shall be bome by the Licensee who, or
whose employees or Invitees, have caused It.

Licensee shall not conduct business In the corridors or any other areas, except In Its designated offica(s), storage unit or conferenca rooms. Licensee shall not block or
congregate in the common areas and those areas must be kept neat and attractive at all times. Licensee shall not prop opan any corridor doors, exit doors or doors connecling
coridars during or after business hours. All corridors, halls, elevators and stairways shall not be obstructed by Licansee or used for any purpose other than normal egress and
ingress.

Licensee shall.use only talecommunications systams and service (Including local, long distance and Intemational service), Intemet service and copy machine equipment and
services as provided by Irvine Office and Storage at Irvine Office and Storage's standard rates,

Licensee shall have the right to mark, drive nails, screw, paint or affix anything to walls of Licensee's offica(s).The expense of remedying any breakage or damage resulting
from such actions shall be bome by Licansee..

Licensee shall not use the offica(s) for lodging or sleeping or for any Immorel or ilegal purposes.

No auction, quitting business, bankruptcy, fire, or similar sale shall be conducted on the premises.

On Saturdays, Sundays and legal holidays, and after the normal business hours established by the Bulking Landlord, access fo the Bulding or lo the halls, cordors, elevators
or stairways In the Bullding, or to the Centar may be refused unless the person seeking access has a pass or ls properly Identified. Neither Inine Office and Storage nor the
Buliding Landlord shall In no case be liable for damages for any error with regard to the admission to or exclusion from the Bulking of any person. In case of Invasion, mob,
riot, public disturbance or other commotion, the Bullding Landlord reserves the right fo prevent access to the Bullding during the continuance of tha same by closing the doors
or otherwise, for the safety of the tenants and protection of the property in the Bulldings.

Immediately following Licensee's use of the lobby, conference room, (or day office) and/or audio/Visual equipment Licensee shall clean up and retum the space(s) fo the stata
and condifion It was prior to Licansee’s use. If not, irvine Offica and Storage may charge Licensee for any expanses required to restore the space and/or equipment to its
original condition,

The electrical current shall be used for ordinary lighting purposes, to run desktop computers, and facsimila equipment only unless written parmigsion to do otherwise shal first
have been obtained from Inve Office and Storage at an agreed charge to Licensee.

Intamet service and any other service provided by 10S may only be used for lawful purposes. Transmission or storage of any Information, data or material In viclation of any
US federal, state or local law is prohibited. Licensee Is prohibited from using the IOS Intamet accass to transmit threatening material or transmit or receive obscene material.
Licensee must pay services feas for each device connected to the Intamet Service. IOS has the right to suspend internet service at any time if Licensee's use violates this

policy.

Irvine Office and Storage reserves the right to make such other Rules and Regulations that In Its judgment may from time to time be needed for the safety, care and cleanliness of
the Center. Irvine Office and Storage shall not be responsible for the failure of any other Licensee or thelr quests to comply with any of the Rules and Regulations, but shall use
reasonable efforts to uniformly enforce all Rules and Regulations.

Initials Kus

Evers Decl. - Attachment C Pl. Ex. 63
p. 1760
Case 8:19-cv-01998-JVS-JDE Document 37-8 Filed 10/21/19 Page 4of9 Page ID #:3138

FEE SCHEDULE

Conference Room Tech Services
Conference Room: (w/ White Board/ intamet) $35/ hour Hardware Installation: $85) hour
HO Flat Screen TV: $10/ hour Computer Networking: $150/ hour
Custom Programming: $150/ hour
LCD Projector. $50/ hour Computer Troubleshooting: $150/ hour
Coffee Service: $10/ pot Stalic IP Address: $100/ month! user
Bottle Water: $1/ bottle Domain/ URL: $25/ year
Website Development: $150/ hour
Website Hosting
Secretarial Services Bagle: $25/ month
Word Processing: $30 / hour Enhancad: $45/ month
Mail/ Courier Service: Cost pius 30% Shared: $85/ month
Mail Overage Per Company: $5/ company Email Address (Exchange)
Fax Transmission: $50/ month Basic (500 MB)* $17/ month -$50 set up
Incoming! Outgoing Faxes and scanning: $1/ page Enhanced (1,000 MB)* $22/ montt- $50 set up
Photocopying at copy machine $0.15/ copy- B/W, $.99/copy + color Premium (3,000 MB)* $55/ momth- $50 sat up
(Made by Center Manager) $0 20/ copy- B/W, $0.99/copy - color Blackberry Enterprise Server: $20/ month
Email Archiving (36 mo) $30/ month
Spam Filter $6/ month
Telecom Services Other Services & Fees
Additional Voice Mail Box: $25/ month- $50 set up After hours Air Conditioning upon request: $40mour
Voice Mail Tree: $25/ month- $50 set up Change Business Name $85 Processing Fee
Transfer from one space fo another within the
Call Forwarding: $50/ month- first phone number facility: $80 Processing Fee
$25/ manth- addifional phone number Delivery Acceptance Fee in Warehouse $5 per 15 minutes
411 Directory: $10/ month” Esting $30 sel up DumpsterFee $25/Mo
Cleaning Fee $25
Lock OutAssistance Fee During Offica Hours = $5

initials

Pl. Ex. 63
p. 1761

Evers Decl. - Attachment C
Case 8:19-cv-01998-JVS-JDE Document 37-8 Filed 10/21/19 Page5of9 Page ID #:3139

IRVINE OFFICE AND STORAGE
8 Whatney, Suite 100
Irvine, CA 92618
(949) 334-8600 Phone - (949) 334-8699 Fax

 

 

 

 

 

 

 

 

Exhibit 4
Date: July 17, 2018
Name: Kaine Wen
Company: SL Account Mgmt :
Telephone #: 424.333.8290
Fax #:
Emall: ine@slaccou mi.com
Office #: Workstation 8
Term: 6 Months
Start Date: September 1, 2018
Termination Date: February 28, 2018 *Upon 30 days written notice required.
*Renewal
T QUANTITY AMOUNT
Monthly License Fee: 1 $200.00
IT System Package (1 Phone, 1 Shared Internet connection, 1 Fax Line) ($225/Package)* 0 $0.00
Telephone Equipment, Lines and Voice Mail ($125/ phone set) * 0 $0.00
Dedicated Fax Line ($50 each)* 0 $0.00
Additional Mail Service ($50 each)* 1 $50.00
Shared Intemet Connection ($75 each) 0 $0.00
Additional Voice Mail Box or Voice Mall Trae {$25 each) 0 $0.00
Static |P- Address ($100 each) 0 $0.00
Cali Forwarding to Outside Number ($50 first number, $25 each additional number) 0 $0.00
Beverage/Lounge Fee ($25 per office) 1 $25.00
TOTAL MONTHLY INVESTMENT: $276.00
ONE TIME INVESTMENT
Telephone Installation and Programming ($300/ each) 0 $0.00
Dedicated Fax Installation ($100/ each) 0 $0.00
Shared Intemet Connection ($150 per port) 0 $0.00
Additional Voice Mail or Voice Mall Tree Programming ($50 each) 0 $0.00
Set-Up/Transfer Fee ($80 per office/workstation/storage) 0 $0.00
Additional Key ($15 per key) 0 $0.00
Credit Report ($25 for individual’ $100 for corporation) 0 $0.00
TOTAL ONE TIME INVESTMENT: $0.00
E POSITS
REFUNDABLE Access Card Deposit ($40 per card) 2 $80.00
REFUNDABLE Telephone Deposit ($100 per phone) 0 $0.00
REFUNDABLE Security Deposit (Equal to last month's charges) 2 $510.00
TOTAL REFUNDABLE SECURITY DEPOSITS: $590.00
Lass security deposit on file -$590.00
$0.00"
TOTAL MOVE-IN: $275.00
* Phone/Fax usage additional at enenee e te
| *Must receive signed renewal by August 1, 2018 to avold market rale rentiservices increase. |
AGREED AND ACCEPTED:
<>, _ Licensee: Amer StapeeS
Date: 7 =< fA | Y pate. “S/ie fr x
Evers Decl. - Attachment C Pl. Ex. 63

p. 1762
 

 

 

Universal Virtual Agreement z

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CENTER INFORMATION UNIVERSAL VIRTUAL OFFICE
Universal Virtual Office ‘aah
_ 12522 Chambers Road, Suite 100 I P
Tustin, California 92780 :
Phone: (714) 573-4000 Fax: (714) 573-4001
Date of Agreement: 16-May-18 Initial Term: Month. to.Month |
Client: | Prime Consulting LLC Start Datep §1162658 |
Address; | 2522 Chambers Rd. initlal Term Expiration Date: N/A
City: Tustin Contact: Le Ho
State: CA Telephone: 909-525-8857
E-Mail: | calvin. ho@slaccountmgmt.com Fax: NWA
Total # of Offices: UVO Prorated for: N/A
No. of People: N/A UVOVIP #

 

 

 

MONTHLY RECURRING CHARGES

First Month | Due Monthly

 

  

POUL ENTE tA oS FERRE NGS A eit i
| Basic Mailbox Package: Mail Handling, Free Coffee, Free
; ‘ine Wi-Fi, Discounted Meeting RoomvOffice Pricing MIM: |’ $59.00 ane

 

IRES Virtual Office Bronze: Prestigious business address, proffessional
personalized phone answenng, call forwarding (PLUS BASIC)

MIM $150.00 $150.00

 

IRES Virtual Office Silver: Prestigious business address, (4) hours
access to meeting room/office

{PLUS BASIG}

 

MTM $175.00 $175.00

 

IRES Virtual Office Gold: Prestigious business address, professional
personalized phone answering, (8) hours access to meeting room/office, | MTM $225.00 $225.00
free local and long distance calls

(PLUS BASIC)

 

IRES Virtual Office Platinum: Prestigious business address,
proffessional personalized phone answering, dedicated phone number,
call forwarding, personalized 24 hour voice mail, free local and long MT™ $325.00 $325.00
distance, (16) hours access to meeting roonVoffice

(PLUS BASIC)

 

 

 

 

 

 

 

 

 

 

 

SUBTOTAL | $0.00}
FORWARDING FEE $0.00
Miscellaneous: |
North Hill Products Group
CLIENT: Universal Virtual Office \

 

 

|

 

Evers Decl. - Attachment D

 

 

 
Case 8:19-cv-01998-JVS-JDE Document’

  
 

iePage / of 9 Page ID #:3141

Irvine Ranch Executive Suites
2522 Chambers Rd. Tustin, Ca 92780

CREDIT CARD AUTHORIZATION FORM

American, Express, MasterCard, Visa

Expiration Date: ee.
i CODE ON FRONT/BACK: OF carp g

Ho

  

Ge Holders Name: le “hone Hyer

   
  
   

_Billeg cocell

 

—s Phone Number: wn eft |l

aaa
se Authorized Amount: $ EA ae

—_—_—

 

  
  
 

 

 

ae A
sf Holder Signature: iA ane

: — folder Name (Print) | E TRONG TEU HO
ag E Le ee , hereby authorize Irvine Ranch Executive Suites,
oe

1, . e
to make charges in the amount of $ i Y

oe >

to my Credit Card in

   

maconsideration for services requested hy me.

PLEX: 63

Evers Decl. - Attachment D p. 1764
Case 8:19-cv-01998-JVS-JDE Document 37-8 Filed 10/21/19 Page 8of9 Pag

  

, mn
AIRCRs
STANDARD SUBLEASE
MULTI-TENANT

1. Basic Provisions ("Basic Provisions"),

1.1 Parties; This Sublease ("Sublease"), dated for reference purposes only August 8, 2018_ ,'s made by and between Guaranteed
("Sublessor*) and _. ("Sublessee"), (collectively the

 

“Parties”, or individually a “Party*),
1.2{a) Premises: That certain portion of the Project {as defined below, ee ee unit/suite, city, state) _173_
= _ ("Premises"). The Premises are located in the County of
Orange and consist of approximately 16,640 square A In addition to ariewecs rights to use and occupy the Premises as hereinafter specified,
Sublessee shall have nonexdusive rights to the Common Areas (as defined below) as hereinafter specified, but shall not have any rights ta the roof, the exterior walls,
Or the utility raceways of the bullding containing the Premises ("Guilding") orto any other buildings in the Project. The Premises, the Building, the Common Areas,
the tand upon which they are located, along with all other bulldings and improvements thereon, are herein collectively referred tous the "Project." Per CAD plan,

Suite 201 is 16,769 usf. We have Inserted 16.640 ref for Suite 201 because the Suite 202 Lease Is estimated ot 15,000 Tsf and the entire 2nd floor Js 91,640
ref perthe Master Lease.

 

1.2(b), Paring: 68 unreservedand _0 reserved vehicle parking spaces.
13 Tern 1- __.. yearsand.. 4. ...... months co ing November 1,2018 ("Commencement Date") and anding

 

February 29, 2020_ ("expiration pate").

1.4 Early Possession: if the Premises pre available Sublessee may have non-exclusive possession of the Premises commencing _£ive business
days prior to the Commencement Date ("Zarly Possession Date"). In addition to the earty acecss period of five (5) business days
prior to the Commencement Date, Sublessee shall be ent entitled to reasonable prior access for the eole purpose(s) of the installation of its IT/Telco services
and equipment; Sublessee’s prior access during any such installation shall be supervised by Sublessor (or an agent of Sublessor) and shall in no way
cause a nuisance ordisturbance to Subleasor's eas operations during any such prior accers by Subleasee.

1S BeseRent: $19,968.00 per month("BaseRent*), payableonthe first (1) day ofeach monthcommencing November 1,
=018

Hthis box (s checked, there are provisions In this Sublease for the Base Rent to be adjusted.

1.6 Sublessee's Share of Operating Expenses: One Hundred Percent  percent(_100_ __ %I("Sublessee's Share"). Subleasee is
responsible ooly for itz share of Operating Expenses as they relate to the Sublease Premises, and not to Sublessor's operating expenses in regards to other

leased space in the Building or Project. Inthe event that that size of the Premises and/or the Project are modified during the term of this Lease, Lessor shall
recalculate Lessee's Share to-reflect such modification.

1.7 Base Rentand Other Monies Paid Upon Execution:
{a} Base Rent: _$19,966.00_ forthe period first month's Base Bent.
(b) SecurityDeposk: $59,904,00_ ("Security Deposit’).
(c) Otter: for
(d) Total Ove Upon Execution Of this Lease: 219,872.90

1.8 Agreed Use: The Premises shall be used and occupled onlyfor of fice use _ and for no other purposes.
1.9 Real Estate Grokers:

(a). Representation: The following real estate brokers ( the *Brokers*} and brokerage relationships exist in this transaction (check applicable baxes):
A Cushman & saketteie of California, Inc. __ represents Sublessor exclusively ("Sublessor's Broker");
—Hughes Marino, Inc, __ represents Sublessee exclusively [“Sublessee's Broke:); or -

represents both Subtasice and Sublessee ("Dual Agency’).
capacato.ncttion appasmant fori thorele-no-tuds agrosment;tne sumat ~~ SpolthesotelRass Ront}issthebrel dacod

i)

 

 

 

 

 

Sublessor shall pay a a Brokers commission per the termsofasvparate agreement between Subleasor and Sublessor's Broker; Sublessor’s Broker
shall be responsible forthe payinent of a cooperating Brokers approximate commission to Sublessee's Broker equal to Fourteen Thousand Nine Hundred
Seventy-Six and 00/100 Dollars ($14,976.00), which is equal to Five Percent (5°s) of Sublessee’s Total Base Rent Obligation; Commission to Subleasee’s

_Broker shall be paid in two equal lustallments, cavh equa) to Fifty Percent (50%) of the total Brokers commission due to Subleasce’s Broker.

1.10 Guarantor, The obligations of the Sublessee under this Sublease shall be guerenteed under the terms and conditione of Exhibit A - Guaranty of
Sublease, attached hereto, by Consumer Advocacy Center, Inc. ("Gusrentor*).
1.11 Attachments, Attached hereto are the following, all of which constitute a part of this Sublease:

Ci anaddentumennnninget orgrephe, —__ team

 

a <e

Page 1 of 8

INITIALS | Last Edited: 9/4/2018 10:07AM * INITIALS
© 2017 AIR CRE. ‘All Rights Reserved. SBMT-8.01, Revised 07-28-2017
: i Evers Decl.-AttachmentE —~ ————~—<“—s~—tstCSéiSLSEEX. 63

p. 1765
Case 8:19-cv-01998-JVS-JDE Document 37-8 Filed 10/21/19 Page9of9 Page ID #:3143

| Cloter(speovi: ERE, Guaranty of Sublease .
2 Premises.

2.2 Letting. Sublessor hereby subleases to Sublessee, and Sublessee hereby subleases from Sublessor, the Premises, for the term, at the rental, and upon all of
the terms, covenants and conditions set forth inthis Sublease. While theappraximate square footage of the Premises may have been used In the marketing of the
Premises for purposes of comparison, the Base Rent stated hereinis NOT tied to square footage and Is not subject to adjustment should the actual size be determined
tobe different. Note: Sublessee ls advised to verify the actual size prior to executing this Sublease.

2.2 Condition. Sublessor shall deliver the Premises to Sublessee broom clean and free of debris on the Commencement Date or the Early Possession Date,
whichever first occurs ("Start Date"), and warrants that the existing electrical, plumbing, fire sprinklay, lighting, heating, ventilating and air conditioning systems
("HVAC"), and any tems which the Sublessor is obligated to construct pursuant to the Work Latter attached hereto, if ary, other then those constructed by Sublessee,
shall be In good operating condition on sald date. Hf a non-compliance with such warranty exists as of the Start Date, or If one of such systems of elements should
malfunction or fail within the appropriate warranty period, Sublessor shall, as Sublessor's sole obligation with respect ta such matter, except es otherwise provided In
this Sublease, promptly after receipt of written notice from Sublessee setting forth with specificity the nature and extent of such non-compliance, matfunction or

‘fallure, rectify same at Sublessor’s expense, The warranty periods shall be as follows: (i) 6 months as to the HVAC systems, and (II) 30. days as to the remaining systems
and other elements. if Sublessee does not give Sublassor the required notice within the appropriate warranty period, correction of any such non-compliance,
malfunction or fallure shall be the obligation of Sublessee at Sublessee's sole cost and expense.

23° Compitance. Sublessor warrants that any improvements, akerations or utility Installations made or Installed by or on behalf of Sublessor to or onthe
Premises comply with all applicable covenants or restrictions of record and applicabla building codes, regulations and ofdinances ("Applicable Requirements”) In
effect on the date that they were made or Installed. Sublessor maiars no warranty as to the use to which Sublessee will put the Premises or to modifications which
may be required by the Americans with Disabilities Act or any similar laws as a result of Sublessee's use. NOTE: Sublessee is reaporsible for determining whether or
not the zoning and other AppScable Requirement: are appropriate for Sublescee's Intended use, and acknowledges that past uses of the Premises may no longer
be allowed. If the Premises do not comply withsald warranty, Sublessor shall, except as otherwise provided, promptly after receipt of written notice from Sublessee
setting forth with specificity the nature and extent of such non-compliance, rectify the same.

2.4 Admowledgaments. Sublessee acknowledges that: {a} it has been givan an opportuntty to inspect and measure the Premises, (b) It has been advised by
Sublessor and/or Brokersto satisfy Itself with respect to the condition of the Premises (Including but not !imtted to the electrical, HVAC and fire sprinkler systems,
security, environmental aspects, andcompllancewith Applicable Requirements and the Americans with Disabilities Act), and thelr sultabiltty for Sublessee's Intended
use, (c) Sublessee has made such Investigation as It deems necessary with reference to such matters andassumes all responsibility therefor as the same reiate to Its
occupancy of the Premises, (d) tt ls not relying on any representation as to the size of the Premises made by Srokers or Sublessor, (e) the square footage of the
Premises was not material to Sublessee's decision to sublease the Premises and pay the Rent stated herein, and {f} neither Sublessor, Sublessor's agents, nor Brokers
have made any oral or written representations or warranties with respect to sald matters other than as set forth In this Sublease. In addition, Sublessor acknowledges
that: (i) Brokers have made no representations, promises or warranties concerning Sublessee's ability to honor the Sublease or sultabllty to occupy the Premises, and
(Ui) it is Sublessor's sole responsibility to investigate the financial capability and/or sultability of all proposed tenants.

2.5 Americans with Disabilities Act. Inthe event thatas a result of Sublessee's use, or intended use, of the Premises the Americans with Disabilities Actor any
similar law requires modifications or the construction of Instafladion of nprovements in orto the Premises, Building, Project and/or Common Areas, the Parties agree

that such modifications, construction or Improvements shall be made at: Sublessor's expense — Sublessee's expense,

2.6 Vehicle Parking. Sublessee shall be entitled to use the number of Unreserved Parking Spaces and Reserved Parking Spaces specified in Paragraph 1.2(b) on
those portions of the Common Araas designated from time to time for paridng. Sublessee shall not use more parking spaces than sald number. Said parking spaces
shall be used for parking by vehicles no larger than full-size passenger automobiles or pickup trucks, herein called "Permitted Stre Vehicles." Sublessor may regulate
the loading and unloading of vehiclesby adopting Rules and Regulations as provided In Paragraphz.9. No vehicles other than Permitted Size Vehicles may be parked
In the Common Area without the prior written permission of Sublesscor.

(a) Sublessee shall not permit or allow any vehicles that belong to or are controlled by Sublessee or Sublessae's employees, suppliers, shippers,
customers, contractors or Invitees to be loaded, unloaded, or parked in areas other than those designated by Sublessorfor such activities.

(b) Sublessee shall not service or store ary vehicles in the Common Areas.

(ce) fSublessee permits or allows any of the prohibited activities described in this Paragraph 2.6, then Sublessor shall have the right, without notice, in
addition to such other rights and remedies thatit may have, to remove or tow gway the vehicle Involved and charge the cost to Sublessee, which cost shall be
immediately payable upondemand by Sublessor.

2.7. Common Areas- Definition. The term "Common Areas" |s defined as ali arees and facilities outside the Premises and within the exterior boundary line of
the Project and interior utility raceways and Installations within the Premises that are provided and designated by the Sublessor from time to time for the general
nonexclusive use of Sublessor, Sublessee and other tenants of the Project and their respective employees, suppliers, shippers, customers, contractors and Invitees,
Including parking areas, loading and unloading areas, trash areas, roofs, roadways, walkways, driveways and landscaped arees.

2.8 Commons Aress- Sublessee's Rights. Sublescor grants to Sublessee, for the benefit of Sublessee and ts employees, suppliers, shippers, contractors,
customers and lavitees, during the term of this Sublease, the nonexclusive right to use, In common with others entitled to such use, the Common Areas as they exist
from time to time, subject to any rights, powers, and privileges reserved by Sublessor under the terms hereof or under the terms of any rules end regulations or
restrictions governing the use of the Project. Under no cireumstancas shall the right herein granted to use tha Common Areas be deemed to Indude the right to store
any property, temporarily or permanently, in the Common Areas. Any such storageshall be permitted only by the prior written consent af Sublessor or Sublessor's
designated agent, which cansent may be revoked at any time. Inthe event thet any unauthorized storage shall occur then Sublessor shall have the right, without
Notice, in addttionto such other rights and remedies that it may have, to remove the property and charge the cost to Sublessea, which cost shall be Immediately
payable upon demand by Sublessor.

2.9 Common Areas: Rules and Regulations. Sublessor or such other person(s) as Sublessor may appoint stall have the exclusive conuol and management of
.the Common Areas and shall have the right, from time to time, to establish, modify, amend and enforce reasonable rules and requiations ("Rules and Reguistions”)
for the management, safety, cere, and cleanliness of the grounds, the parking and unloading of vehicles and the preservation of good order, as well as for the
convenience of other occupants or tenants of the Bullding and the Project end thelr invitees. Sublessee agrees to abide by and conform to all such Rules and
Regulations, and to cause its employees, suppliers, shippers, customers, contractors and Invitees to so abide and conform. Sublessor shall not be responsible to
Sublessee for the noncompliance with sald Rules and Regulations by other tenants of the Project.

2.10 Common Areas -Changes. Sublessor shall have the right, in Sublessor'ssole discretion, from me to time:

(a) To make changes to the Common Areas, incuding, without imitation, changes In the location, size, shape and number of driveways, entrances,
parking spaces, parking areas, loading and unloading areas, ingress, egress, direction of traffic, landscaped areas, walkways and utility raceways;

(b) Toclose temporarily any of the Common Areas for maintenance purposes So long as reasonable access to the Premises remains avaliable;

 

—____ Page 2 of 8 __

INITIALS Last Edited: 9/4/2018 10:07 AM INITIALS

© 2017 AIR CRE. All Rights Reserved. SBMT-8.01, Revised 07-28-2017
oe Evers Decl: - Attachment E Pl. Ex. 63

p. 1766
